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                               IN UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No.: ______


  Christine Salmans,

             Plaintiff,

  Vinci Law Office, LLC,

             Defendant.


                                               COMPLAINT


          For this Complaint, the Plaintiff, Christine Salmans, by undersigned counsel, states as

  follows:

                                              JURISDICTION

          1.        This action arises out of Defendant’s repeated violations of the Fair Debt

  Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) in their illegal efforts to collect a

  consumer debt.

          2.        Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

          3.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

  Defendant transacts business in this District and a substantial portion of the acts giving rise to

  this action occurred in this District.

                                                 PARTIES

          4.        Plaintiff, Christine Salmans (“Plaintiff”), is an adult individual residing in

  Arvada, Colorado, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

          5.        Defendant Vinci Law Office, LLC (“Vinci”), is a Colorado business entity with

  an address of 2250 South Oneida Street, Suite 303, Denver, Colorado 80224, operating as a
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  collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

                       ALLEGATIONS APPLICABLE TO ALL COUNTS

     A. The Debt

         6.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

  creditor (the “Creditor”).

         7.      The Debt arose from services provided by the Creditor which were primarily for

  family, personal or household purposes and which meets the definition of a “debt” under 15

  U.S.C. § 1692a(5).

         8.      The Debt was purchased, assigned or transferred to Vinci for collection, or Vinci

  was employed by the Creditor to collect the Debt.

         9.      The Defendant attempted to collect the Debt and, as such, engaged in

  “communications” as defined in 15 U.S.C. § 1692a(2).

     B. Vinci Engages in Harassment and Abusive Tactics

         10.     On or about May 13, 2021, Vinci called Plaintiff in an attempt to collect the Debt.

         11.     During the initial conversation, Plaintiff discovered that Vinci had the incorrect

  mailing address for her.

         12.     Plaintiff gave Vinci her correct address and requested that Vinci send the initial

  notice to her correct address.

         13.     On or about May 21, 2021, Vinci called Plaintiff in an attempt to collect the Debt.

         14.     Plaintiff asked Vinci if the initial notice was sent to her current address.

         15.     Vinci confirmed that it did not send the initial notice to Plaintiff’s current address.

         16.     To date, Plaintiff has not received an initial notice from Vinci.

     C. Plaintiff Suffered Actual Damages

         17.     The Plaintiff has suffered and continues to suffer actual damages as a result of the
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  Defendant’s unlawful conduct.

          18.     As a direct consequence of the Defendant’s acts, practices and conduct, the

  Plaintiff suffered and continues to suffer from anger, anxiety, emotional distress, fear and

  frustration.

                                COUNT I
   VIOLATIONS OF THE FEDERAL FAIR DEBTCOLLECTION PRACTICES ACT - 15
                           U.S.C. § 1692, et seq.

          19.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

  as though fully stated herein.

          20.     The Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant engaged

  in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

  connection with the collection of a debt.

          21.     The Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant used false,

  deceptive, or misleading representation or means in connection with the collection of a debt.

          22.     The Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant

  employed false and deceptive means to collect a debt.

          23.     The Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used

  unfair and unconscionable means to collect a debt.

          24.     The Defendant’s conduct violated 15 U.S.C. § 1692g(a) in that Defendant failed

  to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

  law.

          25.     The foregoing acts and omissions of the Defendant constitute numerous and

  multiple violations of the FDCPA, including every one of the above-cited provisions.

          26.     The Plaintiff is entitled to damages as a result of Defendant’s violations.



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                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully prays that judgment be awarded in his favor and

  against the Defendant as follows:

                1.   Against the named Defendant, jointly and severally, awarding Plaintiff actual

                     damages pursuant to 15 U.S.C. § 1692k(a)(1);

                2. Against each of the named Defendant, awarding Plaintiff statutory damages of

                     $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

                3. Against the named Defendant, jointly and severally, awarding Plaintiff recovery

                     of his litigation costs of litigation and reasonable attorney’s fees pursuant to 15

                     U.S.C. § 1692k(a)(3);

                4. Granting Plaintiff such other and further relief as may be just and proper.

                       TRIAL BY JURY DEMANDED ON ALL COUNTS

  Dated: October 4, 2021

                                                         Respectfully submitted,

                                                         By /s/ Sergei Lemberg

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